Case 8:20-cv-00993-MCS-ADS Document 341 Filed 11/13/23 Page1of1 Page ID #:14820

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
CIVIL MINUTES — GENERAL

Case No. 8:20-cv-00993-MCS-ADS Date November 13, 2023
Title Netlist Inc. v. Samsung Elecs. Co., Ltd.

Present: The Honorable Mark C. Scarsi, United States District Judge

Stephen Montes Kerr Not Reported
Deputy Clerk Court Reporter
Attorney(s) Present for Plaintiff(s): Attorney(s) Present for Defendant(s):
None Present None Present

Proceedings: (IN CHAMBERS) ORDER REOPENING CASE (JS-5)

On October 17, 2023, a Ninth Circuit panel issued a memorandum decision
affirming in part and reversing in part the judgment of this Court. The panel
remanded the case for further proceedings. (Mem., ECF No. 334.) A mandate issued
on November 8, 2023. (Mandate, ECF No. 340.)

The Court directs the Clerk to reopen the case, which will proceed consistent
with the memorandum decision and mandate. The Court orders the parties to file
within 14 days a joint status report proposing a schedule for further proceedings.
Alternatively, the parties may jointly stipulate for an order referring them to
alternative dispute resolution proceedings and staying further proceedings for up to
60 days in order to complete those proceedings.

IT IS SO ORDERED.

Page 1 of 1 CIVIL MINUTES — GENERAL Initials of Deputy Clerk SMO
